             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE




UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       No. 3:07-CR-39
                                            )
KENNETH J. DYER and                         )
STACIE LEE GLANCE                           )


                         MEMORANDUM AND ORDER


             This criminal case is before the court on the defendants’ objections

to the magistrate judge’s report and recommendation [docs. 31 and 32]. The

government has filed responses to both defendants’ objections [docs. 33 and 34]

and states that it stands by the report and recommendation as a whole. A

transcript of the suppression hearing has been prepared [doc. 30], and the

exhibits to the suppression hearing have been provided to the court. Therefore,

the objections are ripe for the court’s determination. For the reasons discussed

below, defendant Dyer’s objections to the report and recommendation will be

granted in part and overruled in part. Defendant Glance’s objections will be

overruled.

             Under 28 U.S.C. § 636(b), a de novo review by the district court of a

magistrate judge's report and recommendation is both statutorily and

constitutionally required. See United States v. Shami, 754 F.2d 670, 672 (6th Cir.



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1985). However, it is necessary only to review "those portions of the report or

specified proposed findings or recommendations to which objection is made." 28

U.S.C. § 636(b); see also United States v. Campbell, 261 F.3d 628, 631-32 (6th

Cir. 2001).

                                       Factual Background

                The following factual summary is based on the information in the

affidavit submitted with the search warrant at issue in this case. On December 4,

2006, Officer Neal Seals of the Sevierville Police Department received

information from an officer in North Carolina that a confidential informant (“CS1")

told him about a drug sale that took place in a rental cabin in Pigeon Forge,

Tennessee. CS1 stated that within the past seven days,1 he and another person

went to a rental cabin in Pigeon Forge, Tennessee, where the other person

bought a one ounce of methamphetamine for $1400 from Kenneth Dyer. CS1

observed the transaction. He said the sale occurred in the basement of the cabin

where a pool table is located. He described two vehicles – a blue Dodge Neon

and a gray Ford Ranger – parked outside the cabin. CS1 also stated that Stacie

Glance was present in the cabin at the time of sale.

                On December 6, 2006, CS1 took the officers to the rental cabin. The

same two vehicles were parked outside. Officer Neals set up surveillance on that


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           Officer Seals testified that the sale actually occurred about four days before December 1, 2006,
when CS1 gave his statement to North Carolina officers. Officer Seals explained that he used “seven
days” in order to protect CS1's identity.

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day, and some time later saw Kenneth Dyer and a person fitting the description of

Stacie Glance leave the cabin and drive away in the Dodge Neon. Also on that

day, Officer Neals learned from North Carolina authorities that both Dyer and

Glance had outstanding warrants for drug as well as other offenses.

                Based on this information, a search warrant for the rental cabin was

obtained to be executed on December 7, 2006. The officers decided to wait until

Dyer and Glance left the cabin to execute the search warrant. When the two

suspects left the cabin, officers attempted to arrest them, but they fled and

escaped. Glance was arrested a few hours later when she returned to the cabin

with another person to retrieve personal property,2 and Dyer was arrested some

time later in North Carolina. The officers contacted the rental agent who provided

the code to enter the cabin. The search of the cabin uncovered 49.5 grams of

methamphetamine, almost $5000 in cash, and various drug paraphernalia

including a set of digital scales.

                At the suppression hearing, the rental agreements for the cabin were

submitted as exhibits. They show that Glance rented the cabin from November

25 to 29, 2006, and from December 3 to 8, 2006. On the November agreement,

Glance listed both the Dodge Neon and Ford Ranger, and the print out lists two




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          The rental agent arranged for the key code for the door to be changed subsequent to the
search, so when Glance arrived later that day she could not enter the cabin. When she called the rental
agent about getting into the cabin, the police were informed and they were able to arrest her at the cabin.

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guests. The December agreement shows only the tag number for the Dodge

Neon and the print out lists “0" guests.

                                  Legal Analysis

             Both defendants challenge the search of the cabin arguing that the

affidavit supporting the search warrant was lacking probable cause and that the

warrant was based on stale information. In response, the government argued

that there was sufficient probable cause to support the search warrant and that

the information was not stale. The government also suggested in its response

that the defendants do not have standing to object the search because they

abandoned the cabin and fled.

             In the report and recommendation [doc. 28], the magistrate judge

found that defendant Glance arguably had standing to object to the search of the

cabin she rented, but that Dyer did not; that there was sufficient probable cause

to support the search warrant; that the information was not stale; and that the

defendants did not abandon their property. Defendant Dyer says that the

magistrate judge erred concerning all four of these conclusions. Defendant

Glance says that the magistrate judge erred in finding sufficient probable cause

and in finding that the information was not stale.




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              A. Standing to Object to the Search

              In his report and recommendation, the magistrate judge first

addressed an issue alluded to by the government in its closing argument during

the suppression hearing; that is, whether the individual defendants had a privacy

interest in the rental cabin. He found that Glance, as the renter of the cabin, had

a privacy interest in the cabin, in part because she attempted to retrieve her

property a short time after fleeing from the police. As to defendant Dyer,

however, the magistrate judge found that Dyer was not listed on the cabin rental

form as a guest, that his vehicle was not listed on the December rental form, and

that he did not attempt to retrieve his belongings from the cabin after fleeing from

the police.

              A person has a legitimate and significant expectation of privacy in a

rental cabin rented in her name, in that it is of similar character to a motel room.

See United States v. Allen, 106 F.3d 695, 699 (6th Cir. 1997). Whether this

same protection applies to a guest of the renter, however, is determined based

on the status of the guest. If the guest is only a casual visitor, as opposed to an

overnight guest, he does not have the same expectation of privacy as the renter.

See, e.g., Minnesota v. Olson, 495 U.S. 91, 98-99 (1990); United States v.

Whitehead, 415 F.3d 583, 588 (6th Cir. 2005).

              In his objections, Dyer argues that all the evidence in this case is

that he was staying with Glance during both periods she rented the cabin. Thus,

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as an overnight guest, he had a legitimate expectation of privacy in the cabin.

See Olson, 495 U.S. at 98-99. The court is inclined to agree with Dyer on this

issue.

             First of all, the government only raised the issue of the parties’

expectation of privacy in the premises of the cabin in closing argument at the

suppression hearing. No proof was specifically taken on the issue and the

parties never briefed the issue. Although Dyer has the burden of proof on the

issue of standing, the issue was not fairly raised so he could attempt to satisfy

his burden. Furthermore, a reasonable inference can be drawn that Dyer was an

overnight guest of Glance. The evidence introduced at the hearing established

that the CS1 purchased methamphetamine from Dyer in the cabin during the

latter part of November; the license number for a Ford was listed on the

November rental agreement; a gray Ford Ranger with the same license number

was parked outside the cabin in both November and December; Officer Neals

observed Dyer leaving the cabin with Glance on December 6 and 7; and the

Ford Ranger likely belonged to Dyer. The court finds that under the

circumstances of this case Dyer has met his burden of demonstrating standing to

object to the search warrant.

             B. Abandonment of the Property

             The government argued in its brief and at the suppression hearing

that the defendants abandoned their property when they fled from police and

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therefore have no standing to object to the search of the cabin. Relying on the

fact that Dyer fled to North Carolina, but Glance returned to the cabin to retrieve

her property, the magistrate judge found that Dyer had abandoned his property,

but Glance had not.

              “One has no standing to complain of a search or seizure of

property he has voluntarily abandoned.” United States v. Williams, 569 F.2d

823, 826 (5th Cir. 1978). Whether someone has abandoned property is a fact

question based on the person’s legitimate expectation of privacy in the property.

See United States v. Oswald, 783 F.2d 663, 666 (6th Cir. 1986); see also United

States v. Levasseur, 816 F.2d 37, 44 (2d Cir. 1987).

             Considering the facts of this case, the court finds that Dyer, like

Glance, did not abandon his property. Unlike the defendants in Oswald and

Levasseur, when Dyer and Glance left the cabin on December 7, 2006, they

were certainly planning to return. The attempted arrest of the defendants

changed their plans. Further, there is a reasonable inference that when Glance

and a second person returned to the cabin to retrieve the property in the cabin,

she expected to pick up Dyer’s belongings, also. Further, Dyer’s truck was still

parked outside the cabin and a second reasonable inference is that she brought

the second person along to drive the truck away for Dyer. Just because Dyer did

not personally return, does not mean that he intended to abandon his property.




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             The court cannot find on these facts that Dyer had no expectation of

privacy in the contents of the cabin at the time it was searched. The court finds

that Dyer as well as Glance did not abandon their property and they have

standing to object to the validity of the search warrant.

             C. Validity of the Search Warrant

             Both defendants argue that the magistrate judge erred in finding that

Officer Neals’ affidavit in support of the search warrant was sufficient to establish

probable cause that evidence of a drug offense would be found in the rental

cabin. The facts known to Officer Neals at the time he applied for the search

warrant are set out above. The court finds, as did the magistrate judge, that

under a totality of the circumstances, there are sufficient facts in the affidavit to

support the issuance of the search warrant.

             Officer Neals corroborated significant details of CS1's information.

First, CS1 showed them the rental cabin. Second, the two vehicles described by

CS1 were still parked outside. Further, CS1 said that methamphetamine was

purchased from Kenneth Dyer and Stacie Glance was present. On December

6th, Officer Neals saw Dyer and a female fitting the description of Glance leave

the cabin. Both Dyer and Glance had outstanding warrants for drug offenses.

             The court finds, as did the magistrate judge, that there was sufficient

probable cause to support the issuance of th search warrant, that the

corroboration of CS1's information was sufficient to overcome any question

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about the informant’s credibility, and that the fact that the two vehicles were still

at the same cabin and that Dyer and a person who looked like Glance were still

using the cabin the day before the search warrant was sought, cures any

possible “staleness” of the informant’s information. Whether a “large quantity” of

drugs was still present or depleted does not affect the probable cause to believe

that drug trafficking was occurring in the cabin.

                                    Conclusion

             The court has reviewed de novo the pleadings, the transcript of the

suppression hearing, and the exhibits, and for the reasons discussed above, the

court ADOPTS IN PART the report and recommendation of the magistrate judge.

It is hereby ORDERED that the defendant Dyer’s objections to the report and

recommendation are GRANTED IN PART AND OVERRULED IN PART.

Defendant Glance’s objections are OVERRULED. It is further ORDERED that

the defendants’ motions to suppress evidence [docs. 17 and 19] are DENIED.



                                              ENTER:



                                                     s/ Leon Jordan
                                              United States District Judge




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